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                                                           June 13, 2024
By ECF
The Honorable Jennifer H. Rearden
United States District Court
500 Pearl Street
Southern District of New York
New York, New York 10007

       Re:    United States v. Sergey Shestakov, 23 Cr. 16 (JHR)

Dear Judge Rearden:

        I represent Sergey Shestakov in the above-referenced matter and write to respectfully
request that the Court grant Mr. Shestakov’s motion to compel the government to produce records
material to the preparation of the defense, which has been fully-briefed and pending before the
Court since November 8, 2023. As the Court is aware, trial is scheduled to commence in just over
seven weeks on August 6, 2024. We need these materials—which consist of core Rule 16
discovery materials—to prepare our defense. Not having those materials, or any decision from the
Court, prejudices the defense and our ability prepare for trial.



                                                   Respectfully submitted,


                                                   /s/ Rita M. Glavin
                                                   Rita M. Glavin
                                                   Counsel for Defendant Sergey Shestakov
